         Case 1:20-cv-06516-VM Document 37 Filed 09/10/20 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                            September 9, 2020
--------------------------------------X
MONDAIRE JONES, et al.,               :
                                      :
                      Plaintiffs,     :      20 Civ. 6516 (VM)
                                      :
     - against -                      :          ORDER
                                      :
UNITED STATES POSTAL SERVICE, et al., :
                                      :
                      Defendants.     :
--------------------------------------X
VICTOR MARRERO, United States District Judge.

       The Court will hold a hearing in the above-captioned matter on

Wednesday, September 16, 2020 at 11:30 a.m. Due to the ongoing COVID-

19 pandemic, the hearing will take place by teleconference using the

following dial-in: (888) 363-4749 (international callers dial (215)

446-3662), access code 8392198.

       The parties will be permitted to present testimony and are hereby

directed      to   confer    regarding    proposed       witnesses.         o   later     than

5:00   p.m.    Monday,      September    14,    2020,    the   parties   are    directed     to

submit to the Court a joint proposal with the names of their proposed

witnesses, the       subject    matter     on    which    each   proposed      witness    will

testify, and the estimated length of each proposed witness’s testimony.

       The parties are further directed to review the Court’s Emergency

Individual Rules and Practices in Light of COVID-19, available on the

Court’s website: https://www.nysd.uscourts.gov/hon-victor-marrero.

SO ORDERED.

Dated:         New York, New York
               9 September 2020
                                                  ________________________
                                                       VICTOR MARRERO
                                                           U.S.D.J.
